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                    IN THE UNITED STATES DISTRJCT COURT
                   FOR THE WESTERN DISTRJCT OF WISCONSIN


 EQUAL EMPLOYMENT OPPORTUNITY
 COMMISSION,

                            Plaintiff,
                                                          SPECIAL VERDICT FORM
       V.

                                                                   l 7-cv-739-jdp
 WAL-MART STORES, INC. and
 WAL-MART STORES EAST, L.P.,

                           Defendants.


      We, the jury, for our special verdict, do find as follows:



QUESTION NO. 1: Did Walmart violate the ADA by failing to provide Paul Reina

with a reasonable accommodation?

      ANSWER:       __,¼:....;;e.:;:;_;~-------- (Yes or No)

QUESTION NO. 2: Did Walmart violate the ADA by ending Paul Reina's

employment because of his disability?

      ANSWER:       ~Ye_e.J.~~-------- (Yes or No)
      Ifyou answered YES to either Question 1 or Question 2, go on to answer Question 3. If
     you answered NO to both Question 1 and Question 2, do not answer any more questions.


QUESTION NO. 3: What amount of money, if any, would fairly and adequately

compensate Paul Reina for the harm caused by the ADA violation or violations?

      ANSWER:       $   &.ooc~ .~
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QUESTION NO. 4: Did Walmart act with malice or reckless disregard of Paul Reina's

rights under the ADA?

      ANSWER:       ~y'E_e...:_S~------ (Yes or No)
      Ifyou answered YES to Question 4, go on to answer Question 5. Ifyou answered NO to
      Question 4, do not answer any more questions.


QUESTION NO. 5: What amount of money, if any, do you award as punitive damages

against Walmart?

    . ANSWER:       $   s;coo\<XiJ .~




Madison, Wisconsin
             7',.
Dated this /0 day of October, 2019




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